                                Case 24-12539-LSS         Doc 39       Filed 11/26/24        Page 1 of 2




                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF DELAWARE


             In re:                                                    Chapter 15

             Afiniti, Ltd., 1                                          Case No. 24-12539 (LSS)

                      Debtor in a Foreign Proceeding.
                                                                       Ref. Docket Nos. 1, 4, 33 & 37

                           NOTICE OF BERMUDA COURT’S DENIAL OF INJUNCTION

                 PLEASE TAKE NOTICE that Afiniti, Ltd., in its capacity as the foreign representative
         (the “Foreign Representative”) duly authorized by the Supreme Court of Bermuda, Companies
         (Winding Up) Commercial Court (the “Bermuda Court”) to represent the above-captioned debtor
         (the “Debtor”), 2 filed the Chapter 15 Petition for Recognition of a Foreign Proceeding [D.I. 1]
         (the “Chapter 15 Petition”) on November 3, 2024 and the Verified Petition and Motion Under
         Chapter 15 for (I) Recognition of a Foreign Main Proceeding, (II) Approval of Free and Clear
         Transfer or Other Disposition Under Section 363 of the Bankruptcy Code, (III) Approval of the
         Procedure Governing the Closing of this Chapter 15 Case and (IV) Related Relief [D.I. 4] on
         November 4, 2024 (the “Verified Petition,” and together with the Chapter 15 Petition, the
         “Petition”) pursuant to chapter 15 of title 11 of the United States Code with the United States
         Bankruptcy Court for the District of Delaware (the “Court”).

                PLEASE TAKE FURTHER NOTICE that on November 22, 2024, a sanction order was
         entered in the Bermuda Proceeding (the “Approved Sanction Order”). The Foreign
         Representative previously filed the Approved Sanction Order [D.I. 33].

                 PLEASE TAKE FURTHER NOTICE that, on November 25, 2024, Mr. Muhammad
         Ziaullah Khan Chishti filed a request with the Bermuda Court for an injunction against the Debtor
         and its joint provisional liquidators from taking any steps or seeking any orders in this Court that
         would close the Proposed Transactions and/or preclude Mr. Chishti from advancing his application
         for indemnity from the Debtor (the “Injunction”). See D.I. 37, ¶ 3.

               PLEASE TAKE FURTHER NOTICE that, after a hearing on November 26, 2024, the
         Bermuda Court denied the Injunction.

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         1
             The Debtor’s registration number is 45859. The location of the Debtor’s registered office is Crawford House,
             50 Cedar Avenue, Hamilton, Pembroke, HM 11, Bermuda.
         2
             The Debtor is the subject of an insolvency proceeding (the “Bermuda Proceeding”) currently pending in the
             Bermuda Court and captioned as In the Matter of Afiniti Ltd. (Provisional Liquidators Appointed for Restructuring
             Purposes) and In the Matter of the Companies Act 1981 (2024: No. 265).
32445125.2
                     Case 24-12539-LSS   Doc 39    Filed 11/26/24   Page 2 of 2




         Dated: November 26, 2024        Respectfully submitted,

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